                                                        THE HONORABLE ROBERT S. LASNIK
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 8
                              UNITED STATES DISTRICT COURT
 9                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
10
     OSURE BROWN, on his own behalf and on
11   behalf of other similarly situated persons,,      Case No. 2:20-cv-00669-RSL
12                                Plaintiff,           STIPULATED MOTION AND [PROPOSED]
                                                       ORDER TO EXTEND RESPONSIVE
13          v.                                         PLEADINGS DEADLINES, ADJUST FED. R.
                                                       CIV. P. 12(b) BRIEFING STRUCTURE, AND
14   TRANSWORLD SYSTEMS, INC., et al.,                 CONTINUE INITIAL DISCOVERY
                                                       DEADLINES
15                                Defendants.
                                                       NOTE ON MOTION CALENDAR:
16                                                     June 29, 2020
17

18                                             STIPULATION
19          The Parties’ mutually agree to alter various scheduling and initial issues, pursuant to
20   Local Civil Rules 7(d)(1) and 10(g), and for the following reasons, Plaintiff Osure Brown
21   (“Plaintiff”) and Defendants Transworld Systems Inc. (“TSI”), Patenaude & Felix, APC
22   (“P&F), U.S. Bank National Association (“U.S. Bank”), National Collegiate Student Loan
23   Trust 2004-1, National Collegiate Student Loan Trust 2004-2, National Collegiate Student
24   Loan Trust 2005-1, National Collegiate Student Loan Trust 2005-2, National Collegiate
25   Student Loan Trust 2005-3, National Collegiate Student Loan Trust 2006-1, National

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      CONTINUE INITIAL DISCOVERY DEADLINES (No. 2:20-cv-
 1   Collegiate Student Loan Trust 2006-2, National Collegiate Student Loan Trust 2007-1, and

 2   National Collegiate Student Loan Trust 2007-2 (collectively, “the Trusts,” and together with

 3   TSI, P&F, and U.S. Bank, “Defendants”), collectively the “Parties,” hereby stipulate and

 4   agree, as follows:

 5          1.      The Parties stipulate that Defendants’ deadline to answer or otherwise respond

 6   to the Amended Complaint (Dkt. No. 56) in the above-referenced action is extended from July

 7   9, 2020 to August 6, 2020. No prior requests to extend Defendant’s deadline to answer or

 8   otherwise respond to the Amended Complaint have been made.

 9          2.      The Parties also stipulate that if Defendants file motions pursuant to

10   Fed.R.Civ.P. 12(b) in lieu of an answer on the stipulated responsive pleading deadline of

11   August 6, 2020, Plaintiff shall have until September 10, 2020, to file any oppositions thereto,

12   Defendants shall have until October 1, 2020, to file their replies, and the motions shall be

13   noted for October 2, 2020. No prior requests to alter the timing of briefing on anticipated

14   Rule 12(b) motions to dismiss the Amended Complaint have been made.

15          3.      Defendants anticipate filing separate motions to dismiss the Amended

16   Complaint. The Parties stipulate and agree to structure the briefing on Defendants’

17   anticipated motions to dismiss in accordance with the below.

18          The Parties agree that, in order to avoid needless duplication of arguments, the

19   Defendants shall be permitted to file a joint brief in support of those motions in order to

20   address arguments common to all Defendants. Such joint brief shall not exceed twenty-two

21   (22) double-spaced pages, excluding caption, table of contents, and signature blocks. Each

22   individual Defendant shall also each be permitted to file a separate motion-to-dismiss brief

23   addressing arguments relevant to the individual Defendant. Such individual briefs shall not

24   exceed sixteen (16) double-spaced pages each. Plaintiff’s opposition to the joint brief shall not

25   exceed twenty-two (22) double-spaced pages and the opposition to each individual brief shall

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 1   not exceed sixteen (16) double-spaced pages. Defendants’ joint reply brief shall not exceed

 2   eleven (11) double-spaced pages, and the reply in support of each individual Defendant’s

 3   brief shall not exceed eight (8) double-spaced pages.

 4          Such a briefing structure will save the Court and the Parties unnecessary time and

 5   effort with respect to briefing on overlapping or identical issues. No prior requests to alter the

 6   briefing structure of responsive pleadings to the Amended Complaint have been made.

 7          4.      The Parties also stipulate and agree to continue the deadlines for the Rule 26(f)

 8   conference, initial disclosures, and the joint status report as currently set by the Court’s

 9   Stipulation and Order to Extend Initial Discovery Deadlines (Dkt. No. 35) subject to the

10   limitations and agreement herein.

11          This is the Parties’ second request to extend the initial discovery deadlines. Prior to the

12   Plaintiff’s filing of an Amended Complaint (Dkt. No. 56), the Court has previously extended

13   initial discovery deadlines for initial discovery upon Stipulation of the Parties (Dkt. No. 35.)

14   However, the filing of an Amended Complaint by Plaintiff and the anticipated motions

15   practice in regard to the amended pleading provide good cause to amend the initial discovery

16   dates. The initial discovery dates in the prior order were timed so that the briefing on motions

17   to dismiss were to be completed prior to the initial discovery. Resetting the initial discovery

18   dates so that this occurs again will permit the parties to set forth their claims and defenses

19   prior to the initial discovery occurring, which it is believed will facilitate more complete

20   initial discovery discussions.

21          The parties have entered into this stipulation and agreement to mutually cooperate in

22   the management of this action. In addition, the Defendants have represented by their counsel

23   that they require additional time to analyze the claims and issues presented in Plaintiff’s

24   Amended Complaint (Dkt. No. 56).

25

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      CONTINUE INITIAL DISCOVERY DEADLINES (No. 2:20-cv-
 1          Accordingly, the parties hereby stipulate and agree to extend the deadlines set forth in

 2   the Stipulation and Order to Extend Initial Discovery Deadlines (Dkt. No. 35) as follows:

 3
                 EVENT                    SCHEDULED DATE                  RESCHEDULED DATE
 4
       Deadline for FRCP 26(f)         July 31, 2020                     October 15, 2020 or 14 days
 5     Conference                                                        following any Defendant’s
                                                                         reply in support of a timely-
 6
                                                                         filed Rule 12(b) Motion,
 7                                                                       whichever is later

 8     Deadline for Initial            August 14, 2020                   October 29, 2020, or 14 days
       Disclosures                                                       following the deadline for
 9                                                                       FRCP 26(f) Conference,
                                                                         whichever is later
10

11     Deadline for Joint Status       August 24, 2020                   November 5, 2020, or 21
       Report and Discovery Plan                                         days following the deadline
12                                                                       for FRCP 26(f) Conference,
                                                                         whichever is later
13

14          In addition, the Parties agree that they may exchange written discovery requests at any

15   time and responses to such written discovery are not due until thirty days after the rescheduled

16   and continued Fed.R.Civ.P. 26(f) conference or at another time as agreed to by the Parties in

17   writing as necessary or appropriate, including any reasonable extensions that may be needed

18   in light of certain issues related to the case and/or COVID-19 orders. Nothing in this

19   agreement concerning discovery waives any objections that the Parties may have to such

20   discovery or any party’s ability to make rolling document productions or responses.

21          The foregoing stipulations do not alter or modify any other rights or responsibilities of the

22   Parties except as stated herein permitted by law or under the Federal Rules of Civil Procedure, or

23   the Local Civil Rules.

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     DATED: June 29, 2020.
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17                                           Attorneys for Transworld Systems Inc.

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25   Attorneys for Transworld Systems Inc.

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 7   Association, National Collegiate Student       Attorneys for Patenaude & Felix, APC
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 8   Student Loan Trust 2004-2, National
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 9
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 1                                                ORDER

 2           IT IS SO ORDERED. Accordingly;

 3           The Parties’ prior stipulations regarding responding to the initial complaint, briefing

 4   on motions to dismiss, and setting initial discovery deadlines are hereby superseded by the

 5   provisions in this Order, and this Order controls as to the matters set forth below.

 6           Defendants’ deadline to answer or otherwise respond to the Amended Complaint

 7   (Dkt. No. 56) is extended to August 6, 2020.

 8           Should Defendants file motions pursuant to Fed. R. Civ. P. 12(b) in lieu of an answer

 9   to the Amended Complaint on the stipulated responsive pleading deadline of August 6, 2020,

10   Plaintiff shall have until September 10, 2020, to file any oppositions thereto, Defendants shall

11   have until October 1, 2020, to file their replies, and the motions shall be noted for October 2,

12   2020.

13           Furthermore in order to avoid needless duplication of arguments, the Defendants shall be

14   permitted to file a joint brief in support of those motions in order to address arguments common to

15   all Defendants. Such joint brief shall not exceed twenty-two (22) double-spaced pages. Each

16   individual Defendant shall also each be permitted to file a separate motion-to-dismiss brief

17   addressing arguments relevant to the individual Defendant. Such individual briefs shall not exceed

18   sixteen (16) double-spaced pages each. Plaintiff’s opposition to the joint brief shall not exceed

19   twenty-two (22) double-spaced pages and the opposition to each individual brief shall not exceed

20   sixteen (16) double-spaced pages. Defendants’ joint reply brief shall not exceed eleven (11)

21   double-spaced pages, and the reply in support of each individual Defendant’s brief shall not

22   exceed eight (8) double-spaced pages.

23           Initial Discovery deadlines are rescheduled, as follows:

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 1               EVENT                    SCHEDULED DATE                RESCHEDULED DATE
 2
       Deadline for FRCP 26(f)         July 31, 2020                   October 15, 2020 or 14 days
 3     Conference                                                      following any Defendant’s
                                                                       reply in support of a timely-
 4                                                                     filed Rule 12(b) Motion,
                                                                       whichever is later
 5
       Deadline for Initial            August 14, 2020                 October 29, 2020, or 14 days
 6
       Disclosures                                                     following the deadline for
 7                                                                     FRCP 26(f) Conference,
                                                                       whichever is later
 8
       Deadline for Joint Status       August 24, 2020                 November 5, 2020, or 21
 9     Report and Discovery Plan                                       days following the deadline
                                                                       for FRCP 26(f) Conference,
10
                                                                       whichever is later
11

12          The extension of the above initial discovery deadlines does not alter or modify any
13   other rights or responsibilities of the Parties except as stated herein permitted by law or under
14   the Federal Rules of Civil Procedure, or the Local Civil Rules.
15          The Parties may exchange written discovery requests at any time and responses to
16   such written discovery are not due until thirty days after the rescheduled and continued
17   Fed.R.Civ.P. 26(f) conference or at another time as agreed to by the Parties in writing as
18   necessary or appropriate, including any reasonable extensions that may be needed in light of
19   certain issues related to the case and/or COVID-19 orders.
20          DATED this 30th day of June, 2020.
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23
                                                           A
                                                           Robert S. Lasnik
                                                           United States District Judge
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 1                                   CERTIFICATE OF SERVICE

 2          The undersigned certifies as follows:

 3          1.      I am employed at Corr Cronin LLP, attorneys for Defendant Transworld Systems

 4   Inc. herein.

 5          2.      On June 30, 2020, I caused a true and correct copy of the foregoing document to

 6   be served with the Clerk of the Court using the CM/ECF system, which will send notification

 7   of such filing to all counsel of record.

 8          I declare under penalty of perjury under the laws of the United States of America that

 9   the foregoing is true and correct.

10           DATED: June 30, 2020, at Seattle, Washington.

11                                                  s/ Donna Patterson
12                                                  Donna Patterson

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